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                                                                               December 17, 2018

          Re:     Consensual Monitoring of Wireless Phone by Law Enforcement

   Dear AT&T:


   Kindly accept this correspondence as confinnation of representations made by the Department
   of Justice (DOJ) and the Federal Bureau of Investigation (FBI) regarding the consensual
   monitoring of mobile phones for law enforcement purposes pursuant to 18 U.S.C.§ 2511 (2)(c).
   The specific phone referenced in this letter for AT&T' s assistance in conducting consensual
   monitoring is an AT&T cellular telephone assigned telephone number              8802

   Pursuant to 18 U.S.C. § 2501 et seq., the Jaw enforcement agencies of the Department of Justice
   sometimes consensually monitor the wire and electronic communications of confidential
   informants and other parties in order to gather information for their criminal investigations. As
   you know, consent of one of the parties to a communication is sufficient under the law to
   permit monitoring without court order. Even though consensual monitoring does not require a
   judge's authorization, given the portability of cellular phones and possibility of civil liability
   arising from someone other than the consenting party using the phone, AT&T has been
   requiring prosecutors to obtain a court order before permitting consensual monitoring.

   Since we are aware of your concerns regarding the portability, and correspondingly the
   common transfer of mobile phones to non-consenting third parties, the DOJ/FBI propose that
   with consensual monitoring under 18 U.S. C. § 2511, consenting parties will be required to
   sign a consent and acknowledgment fonn pledging that the target phone will not be used by
   anyone else, including the uses of cell phone photography and text messaging. A sample copy
   of this form is attached.

   After a thorough review of current applicable law, it is the position of the DOJ/FBI that an
   order is not required when a party to a communication consents to the monitoring, even when
   that phone used is inherently mobile; however, since the DOJ/FBI also recognizes the rights
   of third parties should be protected, the consenting party will be required to read and sign a
   statement pledging that the phone shall not be used by any other party.

   We hope that this information assuages AT&T's concerns. Should you have any additional
   questions, please do not hesitate to contact us. Thank you for your anticipated cooperation in this
   matter ..

                                                       Sincerely Yours

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                                                        AUSA Signature             Eric S. Rosen

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                              CONSENT AND ACKNOWLEDGEMENT



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                                             :::::;::!::!:
                                                    f.E  ==-====-hereby state that:



                  1.      I consent to the interception and recording of any and all communications
   made by me over all telephones, cellular or otherwise, provided to or made available to me by
   law enforcement agents in connection with actions taken by me in connection with law
   enforcement agents. My consent extends to all communications over any such phone, whether or
   not that communication relates to a criminal investigation, to any and all messages left on any
   voicemail feature of any such phone, photographs taken using the phone, and text messaging. I
   further consent to the disclosure of any information or records regarding such communications to
   law enforcement agents.


                  2.     I acknowledge that I have been instructed that any cellular telephones
   provided to me in the course of my activities are to be used only by me, and that I am not
   authorized to allow any other person to make, receive or participate in telephone calls involving
   those telephones as defined above in which I am not a participant




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